

People v Shavaun J. (2023 NY Slip Op 50979(U))



[*1]


People v Shavaun J.


2023 NY Slip Op 50979(U)


Decided on September 18, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on September 18, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, James, JJ.



570095/17

The People of the State of New York, Respondent,
againstShavaun J., Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Charlotte E. Davidson, J., at plea; Joanne B. Watters, J., at sentencing), rendered January 17, 2017, convicting her, upon her plea of guilty, of criminal possession of a forged instrument in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Charlotte E. Davidson, J., at plea; Joanne B. Watters, J., at sentencing), rendered January 17, 2017, modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge and the crime assistance fee, and otherwise affirmed.
Based on our interest of justice powers and the People's consent, we vacate the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: September 18, 2023









